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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
Ses pe Cay nd Ree ge ee ee ees Jee Ae eed shee eee cee x
TO BE FILED UNDER SEAL
UNITED STATES OF AMERICA
COMPLAINT AND
- against - AFFIDAVIT IN SUPPORT OF
APPLICATION FOR
DMITRIT ALEKSANDROVICH KARPENKO ARREST WARRANT
also known as “Simon Fox,”
and ALEXEY KRUTILIN (T. 18, U.S.C. §§ 371 and 2;
also known as “David Powell,” T. 50, U.S.C. § 1705)
Defendants.
meme eee sl eli x

EASTERN DISTRICT OF NEW YORK, SS:

SUSAN RUIZ, being duly sworn, deposes and states that she is a Special
Agent with the Department of Homeland Security, Homeland Security Investigations
(“HSI”), duly appointed according to law and acting as such.

Upon information and belief, in or about and between February 1, 2015 and
October 5, 2016, both dates being approximate and inclusive, within the Eastern District of
New York and elsewhere, the defendants DMITRIT ALEKSANDROVICH KARPENKO
also known as “Simon Fox,” and ALEXEY KRUTILIN, also known as “David Powell,”
together with others, did knowingly, intentionally and willfully export, and attempt to export,
from the United States to Russia items on the United States Commerce Control List, to wit:
(i) five (5) digital-to-analog converters; (1i) one-hundred and fifty (150) integrated circuits;

(iii) forty-two (42) integrated circuits; and (iv) two-hundred and eight (208) integrated
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circuits, without first having obtained a license from the Department of Commerce, in
violation of Title 50, United States Code, Section 1705 and Title 18, United States Code,
Section 2, and conspired to do the same in violation of Title 18, United States Code, Section
ati.

(Title 50, United States Code, Section 1705: Title 18, United States Code,
Sections 2 and 371).

The source of your deponent’s information and the grounds for his belief are
as follows:

I. I am a Special Agent with HSI and have been so employed since 2010.
During my employment with HSI, I have participated in numerous investigations, during the
course of which I have interviewed suspects and witnesses, conducted physical surveillance,
executed court-authorized search and arrest warrants, and used other investigative techniques
to secure relevant information regarding various crimes. As a result of my training and
experience, I am familiar with techniques and methods of operation used by individuals
involved in criminal activity to conceal their activities from detection by law enforcement
authorities.

2 This affidavit is based upon my conversations with law enforcement
agents, witnesses and others, as well as my examination of reports and records. Because this
affidavit is being submitted for the limited purpose of establishing probable cause, it does not
include all the facts obtained during the course of the investigation. Where the contents of
documents and the actions, statements and conversations of others are reported herein, they

are reported in substance and in part, except where otherwise indicated.
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I. APPLICABLE EXPORT REGULATIONS

3. Under the International Emergency Economic Powers Act (“IEEPA”),
Title 50, United States Code, Sections 1701-1707, the President of the United States was
granted authority to deal with unusual and extraordinary threats to the national security,
foreign policy, or economy of the United States. 50 U.S.C. § 1701(a). Pursuant to that
authority, the President may declare a national emergency through Executive Orders that
have the full force and effect of law. Among other things, IEEPA empowers the President to
issue regulations governing exports from the United States.

4. Pursuant to IEEPA, on August 17, 2001, the President issued Executive
Order 13,222, which declared a national emergency with respect to the unusual and
extraordinary threat to the national security, foreign policy, and economy of the United States
in light of the expiration of the Export Administration Act (“EAA”), 50 App. U.S.C. §§ 2401-
2420, which lapsed on August 17, 2001. 66 Fed. Reg. 44,025 (Aug. 22, 2001). While in effect,
the EAA regulated the export of goods, technology, and software from the United States.
Pursuant to the provisions of the EAA, the Department of Commerce (“DOC”)’s Bureau of
Industry and Security (“BIS”) promulgated the Export Administration Regulations (“EAR”),
15 C.F.R. §§ 730-774, which contained restrictions on the export of goods outside of the
United States, consistent with the policies and provisions of the EAA. See 15 C.F.R. § 730.2.
In Executive Order 13,222, pursuant to TIEEPA, the President ordered that the EAR’s
provisions remain in full force and effect despite the expiration of the EAA. Presidents have
issued annual Executive Notices extending the national emergency declared in Executive
Order 13,222 from the time period covered by that Executive Order through the present. See,

e.g., 81 Fed. Reg. 52,587 (Aug. 8, 2016).
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a Under IEEPA, it is a crime to willfully violate, attempt to violate,
conspire to violate, or cause a violation of any order, license, regulation, or prohibition issued
pursuant to the statute. 50 U.S.C. § 1705(a). Willful violations of the EAR constitute
criminal offenses under IEEPA, and carry a 20-year maximum term of imprisonment and up
to a $1,000,000 fine. 50 U.S.C. § 1705(c).

6. Through the EAR, BIS reviews and controls the export from the United
States to foreign countries of certain U.S. items. 15 C.F.R. §§ 734.2-.3. In particular, BIS has
placed restrictions on the export and reexport of items that it has determined could make a
significant contribution to the military potential or nuclear proliferation of other nations or that
could be detrimental to the foreign policy or national security of the United States. Under the
EAR, such restrictions depend on several factors, including the technical characteristics of the
item, the destination country, the end user, and the end use.

%; The most sensitive items subject to EAR controls were identified on the
Commerce Control List, or “CCL,” set forth in Title 15, Code of Federal Regulations, part
774, Supplement Number |. Items listed on the CCL were categorized by Export Control
Classification Number (“ECCN”), each of which had export control requirements depending
on destination, end use, and end user.

Il. THE INVESTIGATION

8. HSI, in conjunction with the DOC, the Federal Bureau of Investigation
(“FBI”), and the Department of Defense, Defense Criminal Investigative Service (“DCIS”),
is conducting an investigation into the activities of the defendants, and others known and
unknown for illegally exporting items to Russia without a license from the DOC, in violation

of IEEPA and the EAR, and conspiring to do the same.
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9. The investigation has revealed that, between approximately February
2015 and the present, DMITRIT ALEKSANDROVICH KARPENKO also known as “Simon
Fox,” (“KARPENKO”) and ALEXEY KRUTILIN, also known as “David Powell,”
(“KRUTILIN”) and additional co-conspirators have obtained export-controlled technology
by, among other things, lying about the location of the end-users of the technology, and
knowingly exporting, or attempting to export, the technology to Russia without a license
from the DOC.

10. | The conspiracy to obtain and illegally export controlled items includes
KARPENKO, KRUTILIN, an individual identified as “Alexey Barysheff” (“ALEXEY
BARYSHEFF” or “BARYSHEFF’”), and other known and unknown individuals who, based
on the evidence described below, appear to be located in the United States, Russia and
Finland, and who are attempting to acquire CCL items and other commodities from various
U.S.-based manufacturers. The scheme includes the use of at least two Brooklyn, New
York-based “front companies,” identified as “BKLN Spectra, Inc.” (“SPECTRA”) and “UIP
Techno Corp.” (“UIP TECHNO”).

A. The Scheme to Obtain License-Controlled Technology for Illegal Export

11. SPECTRA is a company that identifies a residence in Brooklyn, New
York as its physical address. According to public records, BARYSHEFF resides at the
SPECTRA address in Brooklyn. Surveillance by investigating agents further confirmed that
BARYSHEFF was using that locations as a residence.

12. | SPECTRA operates the websites “www.bkspectra.com” and

“www.bkspectra.us.” The two websites associated with SPECTRA are hosted by GoDaddy,
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a web hosting and email services company. According to its websites, SPECTRA purports
to be involved in “the supply of electronics and electronic equipment.”

13. According to records provided by GoDaddy, the services that it
provides to SPECTRA—which include web hosting, domain name registration, and the
ability to create and use multiple email addresses—were paid for by BARYSHEFF and
another individual. The website and associated hosting services were purchased from
GoDaddy on or about February 12, 2015.

14. According to publicly-available records, SPECTRA was registered on
or about February 18, 2015 with the New York State Department of State, by BAR YSHEFF.
The address provided in the filing, located in Brooklyn, New York, is the same address listed
on the SPECTRA websites.

15. | UIP TECHNO is a company that also identifies a location in Brooklyn,
New York as its physical address.

16. | UIP TECHNO operates the websites “www.uiptechno.com.”
According to its website, UIP TECHNO purports to be involved in “development and
implementation IT for industrial projects.” Like SPECTRA, the website associated with UIP
TECHNO is hosted by GoDaddy, and the services were also paid for by BARYSHEFF.

17. According to publicly-available records, UIP TECHNO was registered
on September 28, 2015 with the New York State Department of State, by BAR YSHEFF.
The entity address information provided in the filing, located in Brooklyn, New York, is the
same address listed on the UIP TECHNO website.

18. As described more fully below, KARPENKO and KRUTILIN claim to

be employees of UIP TECHNO. However, according to records provided by the New York
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State Department of Labor, BARYSHEFF is the only listed employee of SPECTRA and UIP
TECHNO. BARYSHEFF is also identified as the “President” and “owner” of both
companies.

19. BARYSHEFF is dual citizen of the United States and Russia, who is
originally from Russia.

20. Based on my training and experience, I know that illegal procurement
schemes will often use U.S.-based front companies to purchase and attempt to purchase
license-controlled technology or as the purported ultimate end-users of license-controlled
technology in an effort to circumvent U.S. export laws, because CCL items destined for end-
users in the United States do not require an export license. Then, once the U.S.-based front
company receives CCL items, they illegally export them from the U.S. without the required
export license.

21. | Consistent with this experience, and as described more fully below, this
investigation has revealed that KARPENKO, KRUTILIN, BARYSHEFF and other
individuals associated with SPECTRA and UIP TECHNO engaged in a scheme where they
would do the following: (1) send email communications from email accounts associated with
SPECTRA (i.¢., from email accounts ending in “@bkspectra.com”) or UIP TECHNO (i.e.,
from email accounts ending in “@uiptechno.com”) to a U.S. based manufacturer or
distributor of license-controlled technology; (2) ask to purchase certain electronic
components, some of which were license-controlled; (3) when asked to provide information
about the end-user of the technology, respond with false information — including fraudulent

written documentation — about a U.S.-based end-user, ostensibly in order to avoid a request
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for an appropriate export license; (4) purchase the technology; and (5) knowingly export the

technology without the appropriate license from the DOC.

B. Example Transaction #1: Illegal Export of Digital-to-Analog Converters

 

22. According to information obtained from a Minnesota-based corporation
involved in the sale of electronic components (“COMPANY-1”), on or about October 28,
2015, an individual who identified himself via an email communication as BARYSHEFF,
using the email account “j.reed@bkspectra.com,” placed a web-based order with
COMPANY-1 for certain electronic components, including five digital-to-analog converters
(the “converters”’).

23. A digital-to-analog converter is an electronic device used to convert
digital signals to analog form. Depending on their specifications, digital-to-analog
converters have a wide range of applications and can be used in commercial devices
including music players, televisions, mobile phones, as well as military radar systems and
oscilloscopes.

24. According to a DOC license determination, a license is required to
export the converters to certain foreign countries, including Russia. The converters are
license-controlled for national security and anti-terrorism reasons.

25. |. COMPANY-1 sent an email to the email account being used by the
individual who identified himself as BARYSHEFF. The email requested more information
about SPECTRA. and the end user for the converters.

26. In response, an individual operating the email account associated with
BARYSHEFF stated that SPECTRA was an “independent distributor,” that “this particular

order is for domestic use,” and offered to complete an end user statement.
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27. | On or about November 6, 2015, an individual operating the email
account associated with BARYSHEFF submitted an end user statement to COMPANY-1.
The document identified a company in North Carolina as the end user of the converters, and
provided the name of an employee as the “ultimate consignee.”

28. | The company identified in the end user statement provided by
BARYSHEFF subsequently informed law enforcement that it had no business with
SPECTRA, and had never employed anyone with the name listed on the statement.

29. COMPANY-1 subsequently emailed the individual identifying himself
as BARYSHEFF, and stated that the converters “would require a license from the US
Department of Commerce if it were being exported to certain regions of the world.”

30. | On or about November 10, 2015, COMPANY-1 shipped the converters
to the address in Brooklyn, New York associated with SPECTRA.

31. | On or about November 23, 2015, SPECTRA shipped a package of
items to a company located in Finland. According to the shipping records associated with
this package, the package included a quantity of five items identified as “IC Analog
Converter” with part number “A-9139BC.” The serial number associated with the five
license-controlled converters ordered by SPECTRA is AD9139BCPZ.

32° As mentioned above, certain commodities, like the converters
purchased from COMPANY-1, require a license to be exported to Russia, but not to certain
other countries like Finland. Based on my training and experience, I have learned that
criminal enterprises will use countries like Finland, because of its proximity to Russia and
lack of similar licensing requirements, as a transshipment point for products ultimately

destined for Russia. The license-controlled technology is typically shipped from a U.S.-
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based front company (e.g., SPECTRA or UIP TECHNO) to a freight forwarder in the
country without licensing requirements (e.g., Finland) and then re-exported to the country
with licensing requirements (e.g., Russia) without obtaining the requisite export license.

33. Indeed, according to an investigation performed by the DOC Office of
Export Enforcement, Finland is a known intermediate destination for the shipment of items
with end users in Russia. Additionally, the Finnish company identified by SPECTRA in the
shipping records is known to be a company that acts as an intermediate shipper to Russia.

34. | The DOC has advised that no license has ever been obtained by anyone
for the analog-to-digital converters that were exported by BARYSHEFF.

Cs Example Transaction #2: Illegal Export of Integrated Circuits

35. | Onor about November 18, 2015, an individual operating an email
account associated with SPECTRA sent email communications to a New York-based
business (COMPANY-2), which requested a quote for, among other things, integrated
circuits.

36. | Generally speaking, integrated circuits are sets of electronic circuits on
one small plate of semi-conductor material, normally silicon. Integrated circuits are used in
virtually all electronic equipment today, from computers and mobile phones to aircraft,
missile, and space programs.

37. After receiving a quote for the items from COMPANY-2, on or about
December 18, 2015, an individual operating the email account j.reed@spectra.com provided
COMPANY-2 with a purchase order for some of these items. The email account used to

send this purchase order is the same email address that was used by BARYSHEFF to
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purchase the five analog-to-digital converters described above, which were subsequently
exported without the required license.

38. | Onor about December 21, 2015, in response to requests from
COMPANY-2, an individual operating the same SPECTRA email account submitted an end-
use certificate, which indicated that the items being purchased by SPECTRA were for
domestic use only. On or around December 23, 2015, the individual operating that email
account further indicated that the end user was a company located in Pennsylvania.

39, | Subsequently, the company located in Pennsylvania confirmed to law
enforcement that they are not the end user of the products.

40. On or about January 13, 2016, SPECTRA purchased one-hundred and
fifty (150) integrated circuits from COMPANY-2.

41. | According to a DOC licensing determination, a license is required to
export these integrated circuits to certain foreign countries, including, but not limited to,
Russia. Further, according to the DOC, the integrated circuits are license-controlled for
national security and anti-terrorism reasons.

42. On or about May 2, 2016, a representative from COMPANY-2 notified
the DOC that the integrated circuits purchased by SPECTRA had been received from the
manufacturer. On that same day, DOC agents met with COMPANY-2 and took possession
of all 150 integrated circuits.

43. On the same day, COMPANY-2, in consultation with the DOC,
contacted SPECTRA via the email address previously identified as being used by
BARYSHEFF. Among other things, COMPANY-2 notified the user of the email address

associated with BARYSHEFF that the 150 integrated circuits had been received from the
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manufacturer, and asked SPECTRA to confirm that none of the information previously
provided in connection with the order had changed. In addition, COMPANY-2 specifically
notified SPECTRA that the integrated circuits in question would require a license from the
DOC before the parts could be shipped outside of the United States.

44.  Onor about May 4, 2016, COMPANY-2 received an email response
from the email address associated with BARYSHEFF, which stated, in sum and substance,
that the previously provided information was correct and requested that the parts be shipped
to the address in Brooklyn, New York that is both the listed address for SPECTRA and the
residence of BARYSHEFF.

45. Onor about May 5, 2016, agents from the DOC rendered inoperable
the 150 integrated circuits obtained from COMPANY-2. On or about May 6, 2016, the
Honorable Robert M. Levy, United States Magistrate Judge for the Eastern District of New
York, issued a warrant authorizing federal law enforcement agents and technicians assisting
in the above-described investigation to install a tracking device in a package containing the
150 integrated circuits obtained from COMPANY-2 that was to be sent to SPECTRA. See
Case No. 16-M-428 (filed under seal).

46. Onor about May 9, 2016, DOC agents packed the inoperable integrated
circuits and the tracking device into a package addressed to the address for SPECTRA (the
residence of BARYSHEFF), and delivered the package to United Parcel Service (“UPS”).
Thereafter, UPS delivered that package to SPECTRA’s address in Brooklyn, New York.

47. On or about May 10, 2016, BARYSHEFF was observed leaving the
Brooklyn, New York address associated with SPECTRA with the package believed to

contain the 150 integrated circuits. A short while later, BARYSHEFF and another individual
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were seen taking the package into a second location in Brooklyn, New York, which was
subsequently identified as the offices of UIP TECHNO. Later that same day, BARYSHEFF
was observed leaving the UIP TECHNO location without the package believed to contain the
150 integrated circuits.

48. | Onor about May 11, 2016, BARYSHEFF was observed returning to
the UIP TECHNO location. A short while later, BARYSHEFF was observed leaving that
location with the package believed to contain the 150 integrated circuits.

49. BARYSHEFF was observed traveling with the package believed to
contain the 150 integrated circuits to a shipping company located in Brooklyn, New York.
BARYSHEFF later left the shipping company location without the package.

50. | Onor about May 12, 2016, the package believed to contain the 150
integrated circuits was picked up from the shipping company location by a DHL delivery
truck. After the package was placed in the DHL delivery truck, federal law enforcement
agents identified themselves to the DHL driver and asked to see the package. The DHL
driver directed the agents to the package.

51. | Agents were able to observe the shipper and addressee information on
the outside of the package. The listed shipper was SPECTRA, and the listed addressee was a
business with an address in Moscow, Russia.

52. On May 17, 2016, pursuant to a search warrant authorized by
Magistrate Judge Peggy Kuo of the Eastern District of New York, law enforcement agents
seized the package being shipped by SPECTRA. The package ciate the 150 inoperable

integrated circuits, which were not supposed to be exported without a license from the DOC.
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53. | The DOC has advised that no license has ever been obtained by anyone
for the integrated circuits that were attempted to be exported by BARYSHEFF.

54. Onor about May 26, 2016, federal law enforcement agents spoke to
BARYSHEFF over the phone, and subsequently conducted an in-person, non-custodial
interview with BARYSHEFF, regarding the integrated circuits that had been seized. During
these two conversations, BARYSHEFF admitted, in sum and substance and in part, that (1)
he is the “owner” and “boss” of SPECTRA; (2) he is responsible for receiving and shipping
orders; (3) he ships items internationally, and that some customers are located in Russia; and
(4) he had heard of export license requirements, but claimed that he did not think they
applied to his work.

D. Additional Scheme to Illegally Export Additional Controlled Technology

55. | Onor about and between March 22, 2016 and October 5, 2016,
BARYSHEFF, KARPENKO, and KRUTILIN, together with others, conspired to acquire
additional CCL items for the purpose of illegally exporting them.

56. | Onor about March 30, 2016, HSI received a report from a U.S.-based
business of a suspicious request for a quote from an individual claiming to be an employee of
UIP TECHNO named “David Powell.” As explained below, “David Powell” was later
identified by investigating agents as the electronic identity for KRUTILIN.

57. | KRUTILIN (claiming to be “David Powell’) specifically requested
quotes from the U.S.-based company for three parts: UT69151CDXEWCX
(5962R9466311QYX); UTS54ACS164245SEIUCC (5962R9858006V XC): and UT6325XCC
(5962R0422901QXC), These items are all integrated circuits designed for space

applications.
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58. Previously, on or about March 22, 2016, KRUTILIN had sent an email
to the U.S.-based company indicating that his company, UIP TECHO, was working to
purchase technology on behalf of a U.S.-based company located in California. Three days
later, KRUTILIN provided an End Use Certificate (““EUC”) which identified the California
company as the end user for the parts that UIP TECHNO was attempting to purchase.

59. | Onor about, April 4, 2016, the U.S.-based company directed
KRUTILIN, via an email communication, to an HSI undercover agent (“UC-1”) who was
posing as a sales representative for an independent distributor of the U.S.-based company.

1. First Order of License-Controlled Technology

60. Onor about, April 5, 2016, UC-1 emailed a quote to KRUTILIN,
offering to sell the three parts that KRUTILIN had previously sought to purchase from the
U.S.-based company.

61. | Between April 5, 2016 and April 19, 2016, UC-1 negotiated the price
of the products requested by KRUTILIN. During these negotiations, UC-1 received emails
from another email account associated with UIP TECHNO. Ultimately, the individual or
individuals sending communications on behalf of UIP TECHNO (including KRUTILIN),

agreed to purchase the following quantities of the three parts from UC-1 at the following

prices:
UT69151CDXEWCX(5962R9466311QYX) OFY:7 $8,713.00 ea
UTS4ACS164245SEI-UCC(5962R9858006V XC) QTY: 31 $821.00 ea
UT6325XCC(5962R0422901QXC) QTY: 11 $5,938.00 ea

Total: $151,760.00
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62. | According to a DOC license determination, two of those parts (No.
UT6325XCC(5962R0422901QXC) and UTS4ACS164245SEI-UCC (5962R9858006VXC))
would require an export license to Russia, while the third part (UT69151CDXEWCX
(5962R94663QY X)) does not require a license for export to Russia.

63. Onor about, April 21, 2016 and April 27, 2016, an individual operating
an email account associated with UIP TECHNO sent emails to UC-1, indicating that UIP
TECHNO had sent wire transfers for $75,880.00 and $31,000 to UC-1, as the first two
payments for the parts that UIP TECHNO had ordered.

64. On or about, April 22, 2016, UC-1 informed the individual operating
the UIP TECHNO email account that he/she needed to complete a new end user certification
for the parts that UIP TECHNO had ordered. On that same day, the individual operating the
UIP TECHNO email account responded with an end user certificate that indicated UIP
TECHNO was the purchaser, and again indicated that the end user was located in California.
The document contained the following language:

“We — the person or body named in Section 1 [UIP TECHNO] —
certify that we are the end-user of the goods described in Section
2, which are to be supplied by [UC-1 COMPANY]. We further
certify that we shall use the goods for the purposes described in
Section 3; that the goods will not be used for any purpose
connected with chemical, biological or nuclear weapons, or
missiles capable of delivering such weapons; that they will not be
re-exported or otherwise re-sold or transferred if it is known or
suspected that they are intended or likely to be used for such
purposes; that the goods will not be re-exported or otherwise re-
sold to a destination subject to US, UN, EU or OSCE embargo
where that act would be in breach of the terms of that embargo;
and that the goods, or any replica of them, will not be used in any
nuclear explosive activity or unsafeguarded nuclear fuel cycle.”
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65. On or about, May 19, 2016, investigating agents communicated with a
senior employee of the California company listed as the end user by KRUTILIN, who
confirmed that the end user certificate that UIP TECHNO submitted was false. Indeed, the
California company was not the ultimate consignee for the above mentioned parts, and it has
never purchased parts through UIP TECHNO.

66. On or about and between August 10, 2016 and August 12, 2016, UC-1
wrote to the email address for “David Powell” at UIP TECHNO, and informed KRUTILIN
that UC-1’s supervisor (in actuality, a DCIS undercover agent, hereafter “UC-2’’) had
contacted the California company given by CC-1 as the end user, and discovered that
company had never heard of UIP TECHNO.

67. During that same period, UC-1 emailed KRUTILIN and told him, in
sum and substance and in part, that because of the potential of making a significant amount
of money, UC-1’s company was considering whether or not to continue doing business with
UIP TECHNO in spite of learning about the submission of fraudulent end user information.
UC-1 further stated, in sum and substance and in part, that if the company provided UIP
TECHNO with the parts, UC-1°’s company would want to be “protected” because the deal
was not a “normal legal order,” and that there would need to be additional compensation.

68. On August 16, 2016, KRUTILIN (identifying himself as “Powell’’)
responded to UC-1, via a Skype text communication, and wrote, in part, “We really can
make much money on such orders...We really respect you and your company...We would
never tell anyone about our cooperation because it’s risky for both of us. Please let us know
the best way of keeping everything in secret. You said you should be compensated for the

risk, please tell me how. What exactly you want us to do? I guess you would like to get an
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extra cost for the parts from the order. Let’s discuss it.” KRUTILIN further wrote, in part
“We can guarantee, we never show any invoices or emails to any legals [sic] with you.
Moreover, we never had any problems, and we are trying to do everything very carefully, If
you want us to get some agreement regarding covering legal cost, it might happen. We will
certainly agree with that if necessary we also can do some extra cautions like wiring money
not to USA. As there will be big money soon. Let me know the compensated price...”

69. On August 17, 2016, KRUTILIN (identifying himself as “Powell’’)
spoke over the telephone with UC-2, the undercover law enforcement agent posing as UC-
l’s supervisor. During this call, the following conversation occurred (in sum and substance,
except where quoted, and in part):

a. KRUTILIN indicated that he wanted to continue doing business with
UC-1 and UC-2, and assured UC-2 that he could “protect your
company not to disclose any information.” KRUTILIN also stated, in
part, “because, you know we are not working for the first day. We try
to do it very carefully, so we can guarantee we will never show any
invoices or emails to any legal persons with you and we have never had
any problems regarding the orders, parts, exported parts so we are
trying to do everything very carefully.”

b. UC-2 told KRUTILIN that he needed a new end user statement,
because they had confirmed the first one was false and this meant UC-2
could no longer deny knowledge if questioned. KRUTILIN stated he
would send a new document “with an absolutely new company. Also
connected to satellite development or something like that. I hope that
sounds ok for you?”

c. UC-2 asked KRUTILIN where UIP TECHNO was exporting the parts.
KRUTILIN stated he could not divulge the location without first
getting permission from his boss. UC-2 also asked if KRUTILIN’s
customer “knows the process they are going through is not the legal
way of doing this?” KRUTILIN indicated that they did understand
this. UC-2 also stated he wanted to “make sure that you and your
customer know exactly what we are doing so that you know how
sensitive this is, that its not legal doing it this way so that if anyone has
any problem that everyone is looking out for everyone else. So that
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nothing comes back to us.” KRUTILIN responded and said, “I think
there is no connection with your company. If something happens, we
will not tell anyone that we are connected with you. Because it is risky
for both us and you, why should we do that? I think its not right, its no
way, ya. Anyway, it won’t happen.” KRUTILIN further stated, “we
do have our own network that’s why we are working for so many
months and years.”

d. UC-2 asked KRUTILIN, “So you have been doing this same type of
deal for a while then?” KRUTILIN confirmed that they had, and also
stated, “We don’t do this for the first time. We have a network of
companies in the US and Canada. We are connected to each other and
we help each other. We have agents that help with exported parts to
export them to Europe. We have been working with that for several
years,

e. UC-2 ended the phone conversation by stating that UIP TECHNO’s
order and planned export would be “violating US criminal law and I
don’t want any problems coming back to me or my company.”
KRUTILIN responded, “Ya, I understand that...I apologize I didn’t get
back to you earlier. I just needed time to think and discuss with my
boss. So that’s great. Thank you for the conversation. Have a great
day.”
70: On or about August 18, 2016, an individual claiming to be “Simon
Fox,” operating the email account “simon@uiptechno.com” emailed UC-1 and attached a
new end user statement for the parts discussed by KRUTILIN. The new end user statement
indicated the parts were for a different company located in California.
71. Asexplained below, investigating agents subsequently learned that
KARPENKO was posing as Simon Fox.
72. Qn or about September 6, 2016, HSI shipped 7 pieces of
UT69151CDXEWCX< to UIP located at 2101 Avenue Z, Brooklyn, NY 11235. This part,
which as noted above can be exported without a license, was shipped to UIP TECHNO for

the purpose of determining the scope of the export and logistics network of the criminal

conspiracy.
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TS. On or about September 8, 2016, UC-1 sent KRUTILIN a Skype text
message that read, “We want to make sure you can get these parts out with no problem
before we send the rest. If Customs or the FBI stops your package [we] will cancel the rest
of the order and the other order and return your funds...If you get these parts to your
customer with no problem then we know you are clean and have a good network. You need
to gain [UC-2’s] trust and that is not easy. You need to do things his way but once he trusts
you everything will change. The alternative is to have a sloppy person that will get all of us
caught and put in jail.” On the same day, KRUTILIN (acting as “Powell”) wrote back, “We
have already shipped the package to the customer. Let’s just wait. So what evidence of the
delivery will you need?” UC-1 requested a tracking number.

74. On or about September 14, 2016, KRUTILIN (as “Powell”) sent a
Skype message to UC-1 indicating he sent the package to his customer via Scandinavian
Airlines (SAS) airway bill tracking number: 117-90110845.

75. On or about September 15, 2016, investigating agents obtained
shipping documents related to KRUTILIN’s shipment. The documents included a shipper’s
letter of instruction (“SLI”), which was signed by BARYSHEFF on September 13, 2016.
The SLI identified the shipper as SPECTRA. The ultimate consignee was identified as a
company located in Finland. The shipping documents also included a warehouse receipt that
listed the shipper as SPECTRA.

76. As noted above, based on my training and experience, I know that
individuals engaged in the illegal export of licensed technology will utilize countries like
Finland (which does not require the same license) as a transshipment point for items that are

ultimately destined for Russia.
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77. Additionally, investigating agents have learned that, in a separate
investigation, HSI and DCIS undercover agents met in December 2015 with a target of the
investigation who was illegally shipping controlled items from the United States to Russia.
During that meeting, the target of the investigation explained to the undercover agents that he
shipped them to another company in Finland where they are then smuggled into Russia
without the proper export license required. Subsequently, in August 2016, HSI agents
involved in this separate investigation learned, pursuant to a federal search warrant of the
target’s Skype account, that he had been directed to use the same Finland company used by
SPECTRA and UIP TECHNO to transship controlled technology to Russia.

ii. Second Order of License-Controlled Technology

78. On May 17, 2016, KRUTILIN (acting as “Powell’’) sent a request for a
quote to UC-1 for two satellite components (161 of one, and 29 of another) manufactured by
a U.S. company. As with the first order by KRUTILIN, these items are integrated circuits
intended for space applications.

79. — According to a DOC license determination, both parts would require an
export license to Russia.

80. On May 24, 2016, UC-1 provided a quote of $61,960.00 for the parts.
On June 23, 2016, UC-1 received an email from “Irene Mitchel, Purchasing Specialists,”
using the email address “Irene@UIPTechno.com.” The individual operating that email
address indicated that he or she was ready to place an order for these parts, and attached a
purchase order for quantities of 172 and 36 of the parts, as well as a sales contract. The

sales contract identified BARYSHEFF as the “Buyer” and as the “General Manager.”
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81. On June 29, 2016, UC-1 emailed Mitchel a proforma invoice which
included the new order price for the increased quantity. The value of the order was
$68,000.00.

82. On July 8, 2016, Mitchel emailed UC-1 a copy of a wire transfer
document, which showed that a wire transfer for $68,000.00 was sent from UIP TECHNO to
UC-1.

83. On July 11, 2016, UC-1 emailed a blank end use certificate to the
individual or individuals at UIP TECHNO he was communicating with, and informed UIP
TECHNO the document must be completed before the parts are ordered. The email to UIP
TECHNO specifically read: “I have attached your invoice showing you have paid in full.
Since these parts are export controlled, I will need to provide an EUC when I place the
order to show they are being used in the US. I have attached the EUC but you can also
find it on our website under the documents tab. If these parts are being exported, I will
also need a BIS711, which is also on our website, in order to start the BIS export license
application.” (emphasis added).

84. On July 12, 2016, “Mitchel” emailed UC-1 the completed end user
certification. The document indicated UIP TECHNO was the consignee and the end user
was identified as a company in California.

85. On July 12, 2016, UC-1 emailed Mitchel and KRUTILIN an order
acknowledgement. The document showed the parts were ordered and also identified they
were export controlled by the DOC. Mitchel responded to the email and requested that UC-

1 correct the quantity from 32 to 36.
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86. On July 27, 2016, a DCIS agent sent a package via FedEx to UIP
TECHNO at the company address in Brooklyn, New York, which contained a cashiers check
(a purported “rebate check’) for $1,944.00, a copy of the signed contract, a pamphlet for UC-
1’s purported business, and a toy rocket with UC-1’s purported business logo. According to
the delivery receipt the package was delivered to UIP TECHNO on August 28, 2016 at 2:30
p-m., and signed for by “A.LEX.” Surveillance of UIP TECHNO at that time and date
indicated the only person at that address was BARYSHEFF.

87. On July 28, 2016, the check was deposited into a Capital One Bank
business checking account. According to records obtained from Capital One Bank, the
authorized signer for the Capital One account is BAR YSHEFF.

88. On July 29, 2016, UC-1 emailed Powell, Mitchel, and Fisher and
informed them the delivery receipt showed the FedEx package was received by “A.LEX.”
UC-1 asked if they had in fact received the check. On August 1, 2016, Mitchel responded to
the email and wrote, “We received the check.” Mitchel also emailed UC-1 a copy of the
contract. The contract was signed by BARYSHEFF.

i. Identification of KARPENKO and KRUTILIN

89. On or about September 20, 2016, UC-1 and KRUTILIN (acting as
“Powell”) engaged in a Skype text conversation.

90. KRUTILIN told UC-] that “We are planning several meetings in the
USA very soon. And we would like to meet with you in Colorado” in order to “discuss all
current issues and orders.” KRUTILIN also told UC-1 that they planned to come to the state

where the UC-1 business was located on October 5, 2016.
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91. In response, UC-1 stated, in sum and substance and in part, that they
were interested in meeting, and suggested that KRUTILIN could pick up the second order of
license-controlled parts described above as part of the trip. KRUTILIN agreed that they
would take possession of the parts when they met.

92. Onor about September 22, 2016, KRUTILIN and UC-2 (UC-1’s
“supervisor” in the business) engaged in a follow-up telephone conversation that was
recorded. During this telephone conversation, KRUTILIN (claiming to be “Powell”), stated
the following, in sum and substance and part: (1) he was still planning to come for a meeting
on October 5, 2016; (2) he would be coming with “Simon, the head of the department;” and
(3) they had meetings with other suppliers in in other states.

93. Based on prior communications, investigating agents believe the
“Simon” referenced by KRUTILIN is the person claiming to be Simon Fox in previous
communications, and who investigating agents later determined to be KARPENKO.

94. Additionally, KRUTILIN asked when UC-1 would send the remainder
of the first order of license-controlled parts that are described above. UC-1 stated “I have
another customer that was working on getting stuff to the same place that you are sending the
things and he did a lot of things that screwed things up so that we had problems with customs
and commerce. And they started asking questions. So everything they were doing is focused
on everything that he has done and his network of things so that is why I am being as
cautious as I can I want to make sure that nothing comes back to me...” and also suggested
that they pick up these license-controlled parts in person as well. KRUTILIN responded “Oh
that would be also great, because that’s kind of more comfortable for both you and us and not

so dangerous. I would say, right?”
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95. As part of the investigation, law enforcement agents obtained
information from a law enforcement database indicating that, on or about October 1, 2016,
KARPENKO, a 33-year-old Russian citizen, and KRUTILIN, a 27-year-old Russian citizen,
arrived at John F. Kennedy International Airport (“JFK”) in Queens, New York, aboard a
flight from Russia. Law enforcement agents also learned that KARPENKO and KRUTILIN
were scheduled to return to Russia on or about October 7, 2016.

96. On or about October 4, 2016, UC-2 received a Skype message from
KRUTILIN (as “Powell”) stating “Hi Robert! Me Simon will be in Colorado Springs
tomorrow around 11:30 AM, pls confirm is this is ok for you? You can also advise
convenient place to meet. I've tried to call your mobile, but nobody pick up the phone, my
Mobile is 347-337-6250. Pls call me back at your convenience.” UC-2 called the phone
number later on that same date, spoke to KRUTILIN (as “Powell’), and confirmed the
meeting that they were still meeting on October 5, 2016.

97. As part of the investigation, investigating agents discovered that
KARPENKO and KRUTILIN took a domestic flight to Denver, Colorado on or about
October 3, 2016, and rented a vehicle.

98. On or about October 4, 2016, KARPENKO and KRUTILIN attempted
to enter Peterson Air Force Base in Colorado Springs, Colorado. After interacting with U.S.
military security, KARPENKO and KRUTILIN left the base.

99. Subsequently, investigating agents learned from U.S. military security
that KARPENKO and KRUTILIN had attempted to gain access to Peterson Air Force Base,
and that security had denied them access. Military security provided investigating agents

with copies they had made of Russian passports provided by KARPENKO and KRUTILIN
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when they tried to gain access, which were in their respective names. Security also provided
a copy of a business card that was found along with the passports; the business card was for
“David Powell” of UIP TECHNO.

100. On or about October 5, 2016, UC-2 and another law enforcement
officer acting in an undercover capacity as involved in “logistics” for the purported business
(“UC-3”) met with KARPENKO and KRUTILIN. At this meeting, KARPENKO identified
himself as “Simon Fox” and KRUTILIN identified himself as “David Powell,” and both
confirmed that they were the same individuals who had previously been communicating with
UC-1 and UC-2. Further, UC-2 recognized KRUTILIN’s voice as “David Powell” from
prior telephone conversations. Both KARPENKO and KRUTILIN spoke conversant
English, and the undercover law enforcement officers had no difficulty understanding either
of them.

101. During the same meeting, in sum and substance and in part, UC-2 and
UC-3 told KARPENKO and KRUTILIN that they were nervous about the plan to provide
them with these items, that the technology was typically used for satellites, and that it would
be illegal to export them without a license. UC-2 and UC-3 further stated that they
understood that KARPENKO and KRUTILIN planned to export these items, and that the
ultimate destination was Russia. KARPENKO and KRUTILIN both smiled and nodded
affirmatively in response.

102. During the same meeting, UC-2 provided KARPENKO and
KRUTILIN a document, which UC-2 explained in sum and substance was to protect the
UC’s business. The document was a letter to Simon Fox, which stated, in part that UIP

TECHNO “will not export these devices unless all export documents and/or approved export
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license is received for this order” and that the “devices may not be transferred, transshipped
on a non-continuous voyage, or otherwise be disposed of in any other country, either in their
original form or after being incorporated into other end-items, without the prior written
approval of the U.S. Department of Commerce.” UC-2 and UC-3 observed KARPENKO
review the document, and sign it as “Simon Fox.”

103. During the same meeting, UC-2 and UC-3 made reference to
BARYSHEFF. In response, KRUTILIN stated, in sum and substance and in part, that
BARYSHEFF was the “CEO” of UIP TECHNO, but that UC-2 and UC-3 would be dealing
directly with KRUTILIN and KARPENKO. In sum and substance, KARPENKO agreed
with this statement.

104. During the same meeting, UC-2 and UC-3 offered to send the
purported license-controlled parts to the UIP TECHNO address in Brooklyn, New York, and
KARPENKO and KRUTILIN agreed. KARPENKO and KRUTILIN explained to UC-2 and
UC-3, in sum and substance, that the devices would remain in New York for approximately
four-to-five days, then be shipped to Finland by way of Canada or Mexico. They further
stated, in sum and substance, that they changed their shipping routes frequently to avoid
detection.

I. CONCLUSION

105. Based on my training and experience, as well as the facts set forth in
this affidavit, there is probable cause to believe that the defendants DMITRII
ALEKSANDROVICH KARPENKO also known as “David Powell,” and ALEXEY
KRUTILIN, also known as “Simon Fox,” together with others, did knowingly, intentionally

and willfully export, and attempt to export, from the United States to Russia items on the
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United States Commerce Control List, to wit: (i) five (5) digital-to-analog converters; (11)
one-hundred and fifty (150) integrated circuits; (iii) forty-two (42) integrated circuits; and
(iv) two-hundred and eight (208) integrated circuits, without first having obtained a license
from the Department of Commerce, in violation of Title 50, United States Code, Section
1705 and Title 18, United States Code, Section 2, and conspired to do the same in violation
of Title 18, United States Code, Section 371.

106. It is respectfully requested that this Court issue and order sealing, until
further order of the Court, all papers submitted in support of this application, including the
application, the arrest warrant, and the complaint. I believe that sealing these documents is
necessary because the defendant is currently at liberty and is believed to reside outside of the
United States, and the government plans to effectuate an arrest when the defendant next
enters the United States and/or seek extradition if the defendant is arrested in another
country. Thus, the government seeks to seal the complaint and arrest warrant to ensure that
the defendant does not learn that a complaint has been filed and an arrest warrant has been

issued, and to prevent her from fleeing justice and avoiding arrest and prosecution.
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WHEREFORE, your deponent respectfully requests that an arrest warrant be
issued, and that the defendants DMITRIT ALEKSANDROVICH KARPENKO also known

as “David Powell,” and ALEXEY KRUTILIN, also known as “Simon Fox,” be dealt with

SUSAN ws }

Special Agent
Department of Homeland Security
Homeland Security Investigations

according to law.

Sworn to me before this
S§ day of October, 2016

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a ¥ a

Yt ONORABLE ROANNE L. MANN
TED STATES MAGISTRATE JUDGE

EASTERN DISTRICT OF NEW YORK
